         Case 22-13247-amc                         Doc          Filed 02/28/24 Entered 02/28/24 16:40:33                       Desc Main
                                                                Document      Page 1 of 9

  Fill in this information to identify the case:

  Debtor 1        Colleen I. Robins dba T&C Hair It Is                                            Creditor files this notice solely for the purpose
                                                                                                  of complying with FRBP 3002.1 and to
  Debtor 2                                                                                        preserve the right to recover.
  United States Bankruptcy Court for the: Eastern District of Pennsylvania

  Case number :         22-13247-amc


Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                                  12/16

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.
File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.


Name of                 US Bank Trust National Association, Not In Its Individual Court claim no.                                                    4
creditor:               Capacity But Solely As Owner Trustee For VRMTG Asset (if known):
                        Trust
Last 4 digits of any number
you use to identify the debtor's                                         1197
account:
Does this notice supplement a prior notice of postpetition fees, expenses,
and charges?
       [X] No
       [ ] Yes. Date of the last notice.

Part 1:      Itemize Postpetition Fees, Expenses, and Charges



Itemize the fees, expenses, and charges incurred on the debtor's mortgage
account after the petition was filed. Do not include any escrow account
disbursements or any amounts previously itemized in a notice filed in this
case. If the court has previously approved an amount, indicate that approval
in parentheses after the date the amount was incurred.

   Description                                                                                   Dates incurred                   Amount

  Late Charges                                                                                                                   $0.00
  Non-sufficient funds (NSF) fees                                                                                                $0.00
  Attorney Fees                                            Motion for Relief                    01/09/2024 (Court Approved)      $1,050.00
  Filing fees and court costs                              Filing Fee                           01/09/2024 (Court Approved)      $188.00
  Bankruptcy/Proof of claim fees                                                                                                 $0.00
  Appraisal/Broker`s price opinion fees                                                                                          $0.00
  Property Inspection Fees                                                                                                       $0.00
  Tax Advances (Non-Escrow)                                                                                                      $0.00
  Insurance Advances (Non-Escrow)                                                                                                $0.00
  Property preservation expenses. Specify:                                                                                       $0.00
  Other. Specify: Plan Review Fees                                                                                               $0.00
  Other. Specify: 410A Fee                                                                                                       $0.00
  Other. Specify: Objection to Confirmation                                                                                      $0.00
  Other. Specify:                                                                                                                $0.00

The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
See 11 U.S.C. § 1332(b)(5) and Bankruptcy Rule 3002.1.




Official Form 410S2                               Notice of Postpetition Mortgage Fees, Expenses, and Charges                                page 1
         Case 22-13247-amc                           Doc      Filed 02/28/24 Entered 02/28/24 16:40:33             Desc Main
                                                              Document      Page 2 of 9
Debtor 1 Colleen I. Robins dba T&C Hair It Is                ________         Case Number: 22-13247-amc
                First Name             Middle Name           Last Name




Part 2:          Sign Below

 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

Check the appropriate box:

[ ] I am the creditor.
[X] I am the creditor's attorney or authorized agent.

I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
knowledge, information, and reasonable belief.


                             /s/ Joshua I. Goldman                                     Date        2/28/2024
    Signature



Print:                       Joshua I. Goldman                              Title Authorized Agent for Creditor

Company                      Padgett Law Group

Address                      6267 Old Water Oak Road, Suite 203

                             Tallahassee FL, 32312

Contact phone                (850) 422-2520                 Email           PLGinquiries@padgettlawgroup.com




Official Form 410S2                                  Notice of Postpetition Mortgage Fees, Expenses, and Charges               page 2
         Case 22-13247-amc       Doc     Filed 02/28/24 Entered 02/28/24 16:40:33           Desc Main
                                         Document      Page 3 of 9




                                       CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished to the parties on

the attached Service List by electronic service and/or by First Class U.S. Mail on this the _________
                                                                                              28th    day of

February, 2024.



                                                     /S/ Joshua I. Goldman

                                                     ___________________________________
                                                     JOSHUA I. GOLDMAN
                                                     PADGETT LAW GROUP
                                                     6267 Old Water Oak Road, Suite 203
                                                     Tallahassee, FL 32312
                                                     (850) 422-2520 (telephone)
                                                     (850) 422-2567 (facsimile)
                                                     PLGinquiries@padgettlawgroup.com
                                                     Authorized Agent for Creditor




Official Form 410S2           Notice of Postpetition Mortgage Fees, Expenses, and Charges         page 3
         Case 22-13247-amc         Doc    Filed 02/28/24 Entered 02/28/24 16:40:33           Desc Main
                                          Document      Page 4 of 9

                                   SERVICE LIST (CASE NO. 22-13247-amc)

Debtor
Colleen I. Robins
6186 Newtown Ave
Philadelphia, PA 19111-5928
dba T&C Hair It Is

Attorney
MICHAEL I. ASSAD
Cibik Law, P.C.
1500 Walnut St
Ste 900
Philadelphia, PA 19102

Attorney
MICHAEL A. CIBIK
Cibik Law, P.C.
1500 Walnut Street
Suite 900
Philadelphia, PA 19102

Trustee
KENNETH E. WEST
Office of the Chapter 13 Standing Trustee
1234 Market Street - Suite 1813
Philadelphia, PA 19107

US Trustee
United States Trustee
Office of United States Trustee
Robert N.C. Nix Federal Building
900 Market Street
Suite 320
Philadelphia, PA 19107




Official Form 410S2            Notice of Postpetition Mortgage Fees, Expenses, and Charges         page 4
Case 22-13247-amc   Doc   Filed 02/28/24 Entered 02/28/24 16:40:33   Desc Main
                          Document      Page 5 of 9
Case
 Case22-13247-amc
      22-13247-amc Doc
                    Doc62 Filed
                           Filed02/28/24
                                 01/09/24 Entered
                                            Entered02/28/24
                                                     01/09/2416:40:33
                                                              15:31:20 Desc
                                                                        DescMain
                                                                             Main
                          Document       Page 6
                                              1 of 9
                                                   4



                          UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF PENNSYLVANIA

 IN RE:    Colleen I. Robins dba T&C Hair It Is       CASE NO.: 22-13247-amc
                          Debtor
           Troy Robins                                CHAPTER 13
                          Co-Debtor
                                                      Judge: Ashely M. Chan
           Fay Servicing, LLC as servicer for US
           Bank Trust National Association, Not
           In Its Individual Capacity But Solely
           As Owner Trustee For VRMTG Asset
           Trust
           v.

           Colleen I. Robins dba T&C Hair It Is -
           Debtor;
           Troy Robins - Co-Debtor
           Kenneth E. West - Bankruptcy Trustee
                         Respondents

                                SETTLEMENT STIPULATION

       WHEREAS, on December 5, 2022, Colleen I. Robins dba T&C Hair It Is (the “Debtor”)

filed a Petition under Chapter 13 of the Bankruptcy Code in the United States Bankruptcy Court

for the Eastern District of Pennsylvania;

       WHEREAS, on September 29, 2023, Fay Servicing, LLC as servicer for US Bank Trust

National Association, Not In Its Individual Capacity But Solely As Owner Trustee For VRMTG

Asset Trust (the “Movant”) filed a Motion for Relief from Automatic Stay pursuant to 11 U.S.C.

Section 362(a) (the “Motion”) regarding the Property located at 5825 Rising Sun Ave,

Philadelphia, PA 19120 (the “Property”);

       WHEREAS, Movant and Debtor are desirous of settling the dispute among and between

themselves;

       NOW THEREFORE, each in consideration of the promises of the other and intending to

be legally bound, subject to the approval of the Bankruptcy Court, it is hereby agreed by and among
Case
 Case22-13247-amc
      22-13247-amc Doc
                    Doc62 Filed
                           Filed02/28/24
                                 01/09/24 Entered
                                            Entered02/28/24
                                                     01/09/2416:40:33
                                                              15:31:20 Desc
                                                                        DescMain
                                                                             Main
                          Document       Page 7
                                              2 of 9
                                                   4



counsel for Movant, by and through its attorneys, Friedman Vartolo, LLP, and Debtor, by and

through his/her counsel, Michael I. Assad, Esquire, as follows:

       1.        The parties hereby certify that the post-petition arrearage is $4,585.43 consisting of

the following:

Post-Petition Payments:      $3,347.43– 10/1/2023 through 12/1/2023 at $1,115.81 per month
Motion Fees/Costs:           $1,238.00
Total Post-Petition Arrears: $4,585.43

       2.        Within twenty (20) days of the approval of this Stipulation, Debtor shall file an

Amended Plan providing for the post-petition arrears of $4,585.43 as set forth in Paragraph 1.

       3.        Upon the filing of the Amended Plan, Creditor shall file an Amended Claim

providing for the post-petition arrears of $4,585.43 as set forth in Paragraph 1.

       4.        Commencing on January 1, 2024, Debtor shall resume making regular monthly

post-petition mortgage payments in the amount of $1,115.81.

       5.        Should Debtor fail to comply with any of the terms of this Stipulation, including

but not limited to failure to make any regular monthly mortgage payment commencing after the

cure of the post-petition arrearage, then Movant may send Debtor and counsel for Debtor a written

notice of default of this Stipulation. If the default is not cured within ten (10) days of the date of

said notice, counsel for Movant may file a Certification of Default with the Court.               Said

Certification of Default may include a certification of Debtor’s failure to pay subsequent payments

that fall due after the date of the notice of default. Upon Certification, the Court shall enter an

Order granting relief from the automatic stay as to the Property.

       6.        In the event that Debtor converts his/her case to Chapter 11, the terms of this

Stipulation shall remain in full force and effect. In the event that Debtor converts his/her case to

Chapter 7, Debtor shall cure all pre-petition and post-petition arrears within ten (10) days of the
Case
 Case22-13247-amc
      22-13247-amc Doc
                    Doc62 Filed
                           Filed02/28/24
                                 01/09/24 Entered
                                            Entered02/28/24
                                                     01/09/2416:40:33
                                                              15:31:20 Desc
                                                                        DescMain
                                                                             Main
                          Document       Page 8
                                              3 of 9
                                                   4



date of conversion. Failure to cure the arrears shall constitute an event of default under this

Stipulation and Movant may send a notice of default and certify default as set forth in the preceding

paragraph.

       7.      The Debtor agrees that any Order granting relief from the automatic stay will

include a waiver of Rule 4001(a)(3) and that Movant, its successors and/or assigns may act upon

the Order immediately.

       8.      If the instant bankruptcy is dismissed, this Stipulation shall be void and shall not be

binding upon the parties.

       9.      Attorney fees and costs for issuing a notice to cure, notice/certificate/affidavit of

default, and order for relief are recoverable and may be added to the arrearage.

       10.     The provisions of this Stipulation do not constitute a waiver by Movant of its right

to seek reimbursement of any amount(s) not included in the instant Stipulation, including fees and

costs, due under the terms of the mortgage and applicable law.

       11.     Counsel for Debtor has authority to settle this matter on behalf of his/her client(s).


      January 9, 2024                         /s/ Lauren M. Moyer
Date: __________                              ________________________________________
                                              Lauren M. Moyer, Esquire
                                              Friedman Vartolo, LLP
                                              Counsel for Creditor


      January 9, 2024
Date: __________                              /s/ Michael I. Assad
                                              ________________________________________
                                              Michael I. Assad, Esquire
                                              Counsel for Debtor


      January 5, 2024
Date: __________                              /s/ Jack Miller for*
                                              ________________________________________
                                              Kenneth E. West, Esquire
                                              Chapter 13 Trustee


                                              * The Chapter 13 Trustee has no
                                              objection to the terms of the herein
                                              Stipulation, without prejudice to
                                              any of the Chapter 13 Trustee's
                                              rights and remedies.
Case
 Case22-13247-amc
      22-13247-amc Doc
                    Doc62 Filed
                           Filed02/28/24
                                 01/09/24 Entered
                                            Entered02/28/24
                                                     01/09/2416:40:33
                                                              15:31:20 Desc
                                                                        DescMain
                                                                             Main
                          Document       Page 9
                                              4 of 9
                                                   4




                         UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF PENNSYLVANIA

 IN RE:    Colleen I. Robins dba T&C Hair It Is     CASE NO.: 22-13247-amc
                          Debtor
           Troy Robins                              CHAPTER 13
                          Co-Debtor
                                                    Judge: Ashely M. Chan
           Fay Servicing, LLC as servicer for US
           Bank Trust National Association, Not
           In Its Individual Capacity But Solely
           As Owner Trustee For VRMTG Asset
           Trust
           v.

           Colleen I. Robins dba T&C Hair It Is -
           Debtor;
           Troy Robins - Co-Debtor
           Kenneth E. West - Bankruptcy Trustee
                         Respondents


                  ORDER APPROVING SETTLEMENT STIPULATION


       AND NOW, this _______ day of _______________________, 2023, it is hereby

ORDERED and DECREED that the Settlement Stipulation resolving Creditor, Fay Servicing, LLC

as servicer for US Bank Trust National Association, Not In Its Individual Capacity But Solely As

Owner Trustee For VRMTG Asset Trust’s Motion for Relief from Automatic Stay is hereby

APPROVED.



                                            BY THE COURT:



                                            ________________________________________
                                            Ashely M Chan, Bankruptcy Judge
